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EXHIBIT A
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YOUNG CONAWAY STARGATT & TAYLOR, LLP

RODNEY SQUARE
(302) 571-6600 1000 NORTH KING STREET (302) 571-1253 FAX
(800) 253-2234 (DE ONLY) WILMINGTON, DELAWARE 19801 www.ycst.com
P.O. Box 391

WILMINGTON, DELAWARE 19899-0391

Tax I.D. No. XX-XXXXXXX

TO: Mr. Neil F. Luria 05/09/2017
Louisiana Medical Center
c/o SOLIC Capital
1603 Orrington Avenue
Suite 1600

Evanston, [linois 60201
File No. 075772.1001

 

For Professional Services Rendered For: Bill No. 40402244

Louisiana Medical Center and Heart Hospital, LLC
Billing Period Through February 17, 2017'

Total Fees ...cc.ccccccccccsccccsscccesssccesssecsnscosssevesacevsnsscsseesesessecenscecesaneceeseeesseasesssaseseeceseeseseeeeees $ 100,151.00
Total Expenses .......ccccccscsssseeeseceessesesenssscsassssesscassesesssnensesessssenacaeeecsseesseseesssensessenesessenaees 3,176.71
Total oo... vavsssepeseesesesevecseaesesesesenteeceeseneatees $__ 103,327.71

 

* Includes expenses posted after February 17, 2017 that were incurred on or before February 17, 2017.

o121s4 eee REMITTING PAYMENT, KINDLY REFERENCE FILE NO. 075772.1001 AND SEND TO THE ATTENTION
‘ ‘ OF ACCOUNTING DEPT.
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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC
Billing Period Through February 17, 2017

AGGREGATE TIME SUMMARY BY TASK CODE

 

 

TASK TOTAL TOTAL
CODE TASK DESCRIPTION HOURS AMOUNT
BOO] Case Administration 23.60 9,896.00
B002 Court Hearings 45.80 28,348.00
B003 Cash Collateral/DIP Financing 14.90 8,773.00
BO04 Schedules & Statements, U.S. Trustee Reports 6.80 3,207.00
BO05 Lease/Executory Contract Issues 2.90 1,248.00
B006 Use, Sale or Lease of Property (363 issues) 1.20 656.00
BO008 Meetings 3.80 2,166.00
BO10 Reclamation Claims and Adversaries 0.40 228.00
Boll Other Adversary Proceedings 53.40 32,533.00
BO13 Creditor Inquiries 1.30 745.00
BO017 Retention of Professionals/Fee Issues 23.70 12,135.00
B020 Utility Services 0.90 216.00

Totals 178.70 $ 100,151.00

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC
Billing Period Through February 17, 2017

ATTORNEY TIME SUMMARY BY TASK CODE

 

 

Task B001 Total Hourly
Case Administration Hours Rate Total
Debbie Laskin Paralegal 2.00 x$ 270.00 540.00
Joel A. Waite Partner 410 x$ 890.00 3,649.00
Kenneth Enos Partner 3.30 x$ 570.00 1,881.00
Michelle Smith Paralegal 12.00 x$ 240.00 2,880.00
Travis G. Buchanan Associate 2.20 x$ 430.00 946.00
Totals: 23.60 9,896.00
Task B002 Total Hourly
Court Hearings Hours Rate Total
Joel A. Waite Partner 15.20 x$ 890.00 13,528.00
Kenneth Enos Partner 21.10 x$ 570.00 12,027.00
Michelle Smith Paralegal 6.80 x$ 240.00 1,632.00
Travis G. Buchanan Associate 2.70 x$ 430.00 1,161.00
Totals: 45.80 28,348.00

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

Billing Period Through February 17, 2017

 

 

 

Task B003 Total Hourly

Cash Collateral/DIP Financing Hours Rate Total

Joel A. Waite Partner 5.00 x$ 890.00 = 4,450.00

Kenneth Enos Partner 5.90 x$ 570.00 = 3,363.00

Michelle Smith Paralegal 4.00 x$ 240.00 = 960.00
Totals: 14.90 $ 8,773.00

Task B004 Total Hourly

Schedules & Statements, U.S. Trustee Reports Hours Rate Total

Kenneth Enos Partner 460 x$ 570.00 = 2,622.00

Michelle Smith Paralegal 1.90 x$ 240.00 = 456.00

Travis G. Buchanan Associate 0.30 x$ 430.00 = 129.00
Totals: 6.80 3,207.00

Task B005 Total Hourly

Lease/Executory Contract Issues Hours Rate Total

Kenneth Enos Partner 150 x$ 570.00 = 855.00

Michelle Smith Paralegal 110 x$ 240.00 = 264.00

Travis G. Buchanan Associate 0.30 x$ 430.00 = 129.00
Totals: 2.90 $ 1,248.00

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC
Billing Period Through February 17, 2017

 

 

 

Task B006 Total Hourly

Use, Sale or Lease of Property (363 issues) Hours Rate Total

Kenneth Enos Partner 1.00 x$ 570.00 = 570.00

Travis G. Buchanan Associate 0.20 x$ 430.00 = . 86.00
Totals: 1.20 $ 656.00

Task B008 Total Hourly

Meetings Hours Rate Total

Kenneth Enos Partner 3.80 x$ 570.00 = 2,166.00
Totals: 3.80 $ 2,166.00

Task B010 . Total Hourly

Reclamation Claims and Adversaries Hours Rate Total

Kenneth Enos Partner . 0.40 x$ 570.00 = 228.00
Totals: 0.40 $ 228.00

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC
Billing Period Through February 17, 2017

 

 

 

Task BO11 Total Hourly

Other Adversary Proceedings Hours Rate Total

Joel A. Waite Partner 6.60 x$ 890.00 = 5,874.00

John T. Dorsey Partner 9.10 x$ 850.00 = 7,735.00

Kenneth Enos Partner 20.60 x$ 570.00 = 11,742.00

Michelle Smith Paralegal 0.90 x$ 240.00 = 216.00

Travis G. Buchanan Associate 16.20 x$ 430.00 = 6,966.00
Totals: 53.40 $ 32,533.00

Task B013 Total Hourly

Creditor Inquiries Hours Rate Total

Joel A. Waite Partner 0.10 x$ 890.00 = 89.00

Kenneth Enos Partner 1.00 x$ 570.00 = 570.00

Travis G. Buchanan Associate 0.20 x$ 430.00 = 86.00
Totals: 1.30 745.00

Task BO17 Total Hourly

Retention of Professionals/Fee Issues Hours Rate Total

Joel A. Waite Partner 3.40 x$ 890.00 = 3,026.00

Kenneth Enos Partner 7.60 x$ 570.00 = 4,332.00

Michelle Smith Paralegal 3.60 x$ 240.00 = 864.00

Travis G. Buchanan Associate 9.10 x$ 430.00 = 3,913.00
Totals: 23.70 $ 12,135.00

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC
Billing Period Through February 17, 2017

 

Task B020 Total Hourly
Utility Services Hours Rate Total
Michelle Smith Paralegal 0.90 x$ 240.00 = 216.00
Totals: 0.90 $ 216.00
Aggregate Total: 178.70 $ 100,151.00
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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC
Billing Period Through February 17, 2017

AGGREGATE TIME SUMMARY PAGE BY INDIVIDUAL

 

Total Hourly
Hours Rate Total
JWAIT Joel A. Waite, Partner, member DE Bar 34.40 890.00 30,616.00
since 1990
JDORS — John T. Dorsey, Partner, member DE 9.10 850.00 7,735.00
Bar since 1991
KENOS Kenneth Enos, Partner, member DE Bar 70.80 570.00 40,356.00
since 2004
TBUCH _ Travis G. Buchanan, Associate, member 31.20 430.00 13,416.00
DE Bar since 2011
DLASK _ Debbie Laskin, Paralegal 2.00 270.00 540.00
MSMIT _— Michelle Smith, Paralegal 31.20 240.00 7,488.00
Total: 178.70 100,151.00

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

File No. 075772.1001 Invoice No. 40402244 05-09-2017
TIME DETAIL GROUPED BY TASK CODE
Task
Date Description Attorney Code Time

01/30/17 File petitions and 1st day motions MSMIT BO01 2.00

01/30/17 Finalize first-day pleadings and coordinate filing TBUCH BOO1 1.10
and service of same

01/31/17 Assist in preparation of First Day Pleadings and DLASK BOoO1 2.00
Binders

01/31/17 Email court re: hearing dates JWAIT BO01 0.10

01/31/17 Email from UST re: first day comments and JWAIT BO01 0.40
analyze

01/31/17 Emails from and to G. Stein and S. Sigler re: UST JWAIT BOo01 0.30
comments and responses; scheduling

01/31/17 Telephone conference with Bankruptcy Court re: JWAIT BO01 0.10
first day hearing

01/31/17 Finalize letter and binders to court for first day JWAIT BO01 0.10
hearing

01/31/17 Emails to and from H. McCullom re: first days JWAIT BO01 0.10
and judge assignment

01/31/17 Emails with court re: first day binder and JWAIT BO01 0.10
scheduling

01/31/17 Conferences with K. Enos re: second days; JWAIT Bool 0.30
scheduling

01/31/17 Telephone conference with H. McCollum re: first JWAIT BOO1 0.20
day comments

01/31/17 Telephone conference with K. Enos and S. Sigler JWAIT BOo01 0.30
re: UST first day comments

01/31/17 Continue to file 1st day motions (.9); prepare MSMIT Bool 1.90
binders of first day pleadings for submission to
court and US Trustee (1.0)

01/31/17 Finalize first-day pleadings and coordinate filing TBUCH BOO1 1.10
and service of same

02/01/17 Draft response to UST re: first day questions and JWAIT Bool 0.60
send to co-counsel

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

File No. 075772.1001 Invoice No. 40402244 05-09-2017
Task
Date Description Attorney Code Time

02/01/17 Emails from and to G. Stein and S. Sigler re: JWAIT BOo01 0.20
response to UST questions

02/01/17 Further emails with S. Sigler re: UST questions JWAIT BO01 0.20

02/01/17 Revise response to UST re: first day questions JWAIT BOoO1 0.30

02/01/17 Emails from and to H. McCullom and Alston team JWAIT BOO] 0.40
re: first day issues and resolutions

02/01/17 Email from court and to G. Stein re: hearing dates JWAIT BOO! 0.10

02/01/17 Conference with K. Enos re: first day order JWAIT BO01 0.20
revisions

02/01/17 Multiple correspondence regarding creditor matrix MSMIT BO001 0.70
(.2); file same (.5)

02/01/17 Correspondence from and to Garden City Group MSMIT BOO! 0.20
regarding service of Ist day hearing agenda

02/01/17 Review and evaluate incoming pleadings for MSMIT BO001 0.20
distribution to co-counsel and client

02/02/17 Conference with K. Enos re: first day orders status = JWAIT BO01 0.10

02/02/17 Exchange emails with co-counsel re: creditor KENOS BO001 0.10
matrix redactions

02/02/17 Review and evaluate incoming pleadings for ~ MSMIT BO01 0.10
distribution to co-counsel and client

02/03/17 Draft notice of commencement MSMIT BOO] 0.30

02/03/17 Review and evaluate incoming pleadings for MSMIT BO001 0.10
distribution to co-counsel and client

02/06/17 Review various second day hearing notices and KENOS BOO1 0.40
notice of commencement

02/06/17 Exchange emails with co-counsel re: status of KENOS BOO1 0.20
various second day pleadings

02/06/17 Review and evaluate incoming pleadings for MSMIT BO01 0.10
distribution to co-counsel and client

02/06/17 Revise, finalize for filing and coordinate service of © MSMIT BO01 0.80
notice of commencement (.6); multiple
correspondence regarding same (.2)

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

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Task
Date Description Attorney Code Time

02/06/17 Review and evaluate incoming pleadings for MSMIT BOO! 0.10
distribution to co-counsel and client

02/07/17 Review and comment on stipulated order re: KENOS BO01 0.30
Medical Ombudsman

02/07/17 Research re: proposed PCO KENOS BOO1 0.20

02/07/17 Exchange emails with co-counsel, client, and US KENOS BO01 0.30
Trustee re: redacted creditor matrix

02/07/17 File revised list of creditors; correspondence MSMIT BO01 0.40
regarding same

02/07/17 Prepare initial critical dates memorandum MSMIT BO001 4.20

02/07/17 Review and evaluate incoming pleadings for MSMIT BOO1 0.10
distribution to co-counsel and client

02/08/17 Teleconference with G. Stein and J. Dorsey re: KENOS Bool 0.40
current case issues

02/08/17 Exchange emails with S. Goodman (PCO) re: KENOS BO01 0.20
current case issues

02/08/17 Review and evaluate incoming pleadings for MSMIT BOO1 0.10
distribution to co-counsel and client

02/09/17 Teleconference with S. Goodman re: case’ KENOS BOO! 0.70
status/PCO related concerns (.4) and follow up
related to same (.3)

02/09/17 Review and evaluate incoming pleadings for MSMIT BO01 0.10
distribution to co-counsel and client

02/10/17 Exchange emails with client and co-counsel re: KENOS BOO1 0.20
committee and formation meeting issues

02/10/17 Review and evaluate incoming pleadings for MSMIT BOO1 0.10
distribution to co-counsel and client

02/13/17 Review and evaluate incoming pleadings for MSMIT BO01 0.30
distribution to co-counsel and client

02/14/17 Review and evaluate incoming pleadings for MSMIT Bool 0.20
distribution to co-counsel and client

02/15/17 Exchange emails with PCO re: next steps KENOS Bool 0.20

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

 

 

File No. 075772.1001 Invoice No. 40402244 05-09-2017
Task
Date Description Attorney Code Time
02/16/17 Exchange emails with S. Goodman and S. Sigler KENOS BO01 0.10
re: PCO Notice
Sub Total 23.60
Task
Date Description Attorney Code Time
01/31/17 Review agenda and notice of first day hearing KENOS BOo02 0.30
01/31/17 Assist co-counsel with preparation of Second Day KENOS BO002 0.90
Pleadings and Second Day Hearing Preparations
01/31/17 Teleconference with co-counsel and J. Waite re: KENOS BO002 0.50
DIP Issues and First Day Hearing Preparations
01/31/17 Review and consider US Trustee Comments to KENOS BO002 0.60
First Day Orders (.3) and teleconference with J.
Waite and S. Sigler re: same (.3)
01/31/17 Assist co-counsel with preparation for First Day KENOS BO02 0.40
Hearing
01/31/17 Work with M. Smith re: finalizing and filing first KENOS B002 0.80
day pleadings
02/01/17 Call with UST, K. Enos and A&B team re: first JWAIT B002 0.50
day issues; scheduling
02/01/17 Exchange emails with co-counsel re: first day KENOS B002 0.20
hearing preparations
02/01/17 Meet with J. Waite re: First Day Hearing KENOS BO002 0.30
Preparations and UST Comments re: first day
orders
02/01/17 Review and comment of first day hearing agenda KENOS B002 0.20
02/01/17 Call with co-counsel and US Trustee re: First Day KENOS BO002 0.50
Hearing Issues and comments to First Day Orders
02/01/17 Review and finalize various Orders for First Day KENOS Bo02 1.10
Hearing
02/01/17 Finalize for filing and coordinate service of MSMIT B002 0.60
agenda for Ist day hearing
02/01/17 Register D. Wenger for 1st day hearing MSMIT B002 0.10
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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

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Task
Date Description Attorney Code Time

02/02/17 Telephone conference with Bankruptcy Court re: JWAIT BO002 0.10
status update for 2/3/17 hearing

02/02/17 Review pleadings and notice and prepare for first JWAIT B002 1.20
day hearing

02/02/17 Email from K. Enos and to H. McCullom re: first JWAIT Bo02 0.20
day orders; cash collateral status; review orders

02/02/17 Meet with client and co-counsel to prepare for first JWAIT B002 3.00
day hearing, including discussions with Midcorp
on cash collateral/DIP

02/02/17 Assist co-counsel and client with preparations for KENOS B002 2.70
First Day Hearing

02/02/17 Meet with T. Buchanan (.3) and M. Smith (.2) re: KENOS B002 0.50
preparations for First Day Hearing

02/02/17 Prepare for First Day Hearing KENOS B002 1.20

02/02/17 Assist with preparations for 1st day hearing MSMIT B002 1.20

02/02/17 Prepare proposed orders, blacklines, and other TBUCH B002 2.40
materials re: first-day hearing

02/03/17 Preparation for hearing, including prepare notes JWAIT BO002 2.00
and meetings with client and co-counsel .

02/03/17 Attend court for first day hearings, including . JWAIT BO002 7.50
breaks to meet with co-counsel and counsel for
lenders

02/03/17 Attend and assist with First Day Hearing KENOS BO002 6.00

02/03/17 Assist co-counsel with preparations for first day KENOS B002 2.30
hearing

02/03/17 Work with co-counsel and lender counsel during KENOS BO002 1.60
hearing breaks re: cash collateral/DIP issues

02/03/17 Assist with preparations for February 3, 2017 1st MSMIT B002 2.60
day hearing (2.2); download and circulate Ist day
orders (.4)

02/03/17 Register A. Backus for 1st day hearing MSMIT BO02 0.10

02/03/17 Prepare proposed orders, blacklines, and other TBUCH B002 0.30
materials re: first-day hearing

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

 

 

File No, 075772.1001 Invoice No. 40402244 05-09-2017
Task
Date Description Attorney Code Time
02/07/17 Correspondence from court reporter attaching 1st MSMIT B002 0.10
day transcript; circulate same
02/08/17 Exchange emails with N. Luria re: Venue Motion KENOS BO002 0.20
Hearing Preparations
02/09/17 Review first day hearing transcript re: venue KENOS BO002 0.30
motion hearing/briefing preparations
02/13/17 Conference with K. Enos re: statement on venue JWAIT B002 0.20
motion; agenda for 2/15
02/13/17 Review, revise and finalize hearing agenda re: KENOS BO002 0.20
Venue Motion
02/13/17 Exchange emails with Committee Counsel re: KENOS BO002 0.10
Venue Transfer Hearing
02/13/17 Revise agenda for February 15, 2017 hearing (.2); MSMIT B002 0.80
finalize for filing and coordinate service of same
(.6)
02/14/17 Conference with K. Enos re: venue order; hearing JWAIT BO002 0.10
cancellation and notice
02/14/17 Telephone conference with G. Stein re: 2/15 JWAIT BO002 0.40
hearing; update; transition
02/14/17 Review and comment on revised Hearing Agenda KENOS BO002 0.20
02/14/17 Prepare amended agenda (.2); finalize for filing MSMIT BO002 0.70
and coordinate service of same (.5).
02/14/17 Prepare 2nd amended agenda (.1); finalize for MSMIT B002 0.60
filing and coordinate service of same (.5)
Sub Total 45.80
Task
Date Description Attorney Code Time
01/31/17 Telephone conference with G. Stein re: DIP JWAIT BO003 0.30
revisions; first day issues
01/31/17 Review DIP motion, order and budget JWAIT BO003 1.80
01/31/17 Email G. Stein re: DIP order/budget JWAIT BO003 0.30
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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

File No. 075772.1001 Invoice No. 40402244 05-09-2017
Task
Date Description Attorney Code Time

01/31/17 Call with G. Stein, S. Sigler and K. Enos re: cash JWAIT BO003 0.50
collateral/DIP issues; open items, first day hearing

01/31/17 Review as-filed version of DIP Order, Budget and KENOS B003 0.80
Credit Agreement (.6) and discuss same with J.
Waite (.2)

02/01/17 Telephone conference with G. Stein re: DIP JWAIT B003 0.20
revisions; hearing preparations

02/01/17 Teleconference (.2) with counsel to MedTronic re.) ©KENOS B003 0.60
reclamation and lien issues and follow up related
to same (.4)

02/02/17 Emails from and to G. Stein re: cash collateral JWAIT B003 0.10

02/02/17 Emails from and to G. Stein and review rules re: JWAIT BO003 0.40
cash collateral hearing testimony

02/02/17 Telephone conference with G. Stein re: cash JWAIT B003 0.30
collateral update and hearing preparation

02/02/17 Telephone conference with P. Jackson re: cash JWAIT BO003 0.20
collateral

02/02/17 Review Midcorp objection to use of cash JWAIT BO03 0.40
collateral

02/02/17 Teleconferences (2x) with client, J. Waite, co- KENOS BO003 0.70
counsel and lenders re: proposed DIP and Cash
Collateral Order

02/02/17 Review and consider MidCap Limited Objection KENOS BO003 0.40
to Cash Collateral Order

02/03/17 Email DIP budget to court and call with clerk's JWAIT B003 0.20
office

02/03/17 Exchange emails with US Trustee re: revised KENOS B003 0.10
Interim DIP/Cash Collateral Order

02/03/17 Exchange emails with counsel to Medtronic re: KENOS B003 0.20
comments to interim DIP Order

02/03/17 Exchange emails with counsel to MidCap re: KENOS B003 0.10
Interim DIP Order

02/03/17 Draft notice of entry of interim order and final MSMIT B003 0.30
hearing re DIP

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

File No. 075772.1001 Invoice No. 40402244 05-09-2017
Task
Date Description Attorney Code Time

02/06/17 Review (.3) and finalize for service (.1) Midcap KENOS B003 0.40
Document Requests

02/06/17 Teleconference with G. Stein re: DIP and Cash KENOS B003 0.20
Collateral-related discovery

02/06/17 Review and comment on Deposition Notices re: KENOS B003 0.50
DIP

02/06/17 Exchange emails with G. Stein re: MidCap KENOS B003 0.20
Discovery

02/06/17 Finalize for filing and coordinate service of notice MSMIT B003 0.60
of entry of interim order and final hearing
regarding DIP motion

02/06/17 Prepare, file and coordinate service of notice of MSMIT B003 0.50
service regarding debtors' 1st document requests

02/06/17 Finalize for filing and coordinate service of notice MSMIT B003 0.50
of deposition of Salus Valuation Group

02/06/17 Finalize for filing and coordinate service of notice MSMIT B003 0.50
of 30(b)(6)deposition

02/07/17 Multiple correspondence with co-counsel and MSMIT B003 0.30
Garden City regarding supplemental service of
final DIP hearing notice ,

02/08/17 Emails from and to K. Enos re: venue objection JWAIT BO003 0.20
issues; Midcap settlement discussions

02/08/17 Review MidCap Discovery Requests KENOS B003 0.50

02/10/17 Review and comment on Responses to MidCap KENOS B003 0.30
Discovery

02/10/17 Review and comment on MidCap Cash Collateral KENOS B003 0.40
Stipulation

02/10/17 Coordinate service of Debtors' responses to MSMIT BO03 0.40
MidCap Ist document requests

02/10/17 Prepare agenda for February 15, 2017 hearing MSMIT B003 0.30

02/14/17 Email from and to R. Raupnich re: DIP extension JWAIT B003 0.10
request

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YOUNG CONAWAY STARGATT & TAYLOR, LLP

Louisiana Medical Center and Heart Hospital, LLC

 

 

 

File No. 075772.1001 Invoice No. 40402244 05-09-2017
Task
Date Description Attorney Code Time
02/14/17 Review and comment on Cash Collateral KENOS B003 0.50
Stipulation (.2), exchange emails with G. Stein
and P. Jackson re: same (.2) and finalize for filing
(1)
02/14/17 Finalize for filing and coordinate service of MSMIT BO003 0.60
stipulation with MidCap re final DIP order (.5);
coordinate delivery of same to chambers (.1)
Sub Total 14.90
Task
Date Description Attorney Code Time
02/01/17 Review US Trustee Information Requests and KENOS B004 0.30
exchange emails with co-counsel re: same
02/01/17 Review and comment on Schedules and SOFAs KENOS B004 0.40
Motion
02/06/17 Finalize for filing and coordinate service of MSMIT B004 0.60
motion to extend deadline to file schedules &
SOFAs
02/07/17 Assist co-counsel with preparation of IOR and KENOS B004 0.70
preparations for IDI
02/07/17 Teleconference with A. Baccias re: IDI Materials KENOS BO004 0.20
02/07/17 Exchange emails with US Trustee, client and co- KENOS B004 0.10
counsel re: IDI .
02/07/17 Prepare materials requested by U.S. Trustee for TBUCH B004 0.10
use re: initial debtor interview
02/08/17 Teleconference with US Trustee re: PCO and KENOS B004 0.20
Committee Issues
02/08/17 Review IDI Letter KENOS B004 0.10
02/08/17 Exchange emails with co-counsel, client and US KENOS B004 0.20
Trustee re: IDI Scheduling
02/08/17 Assemble IDI materials and prepare CD for US MSMIT B004 0.80
Trustee (.6); prepare letter and coordinate delivery
of same (.2)
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Task
Date Description Attorney Code Time
02/08/17 Prepare materials requested by U.S. Trustee for TBUCH B004 0.20
use re: initial debtor interview
02/13/17 Review and comment on Initial Operating Report KENOS BO004 0.30
02/13/17 Assist co-counsel with preparation of IOR KENOS BO004 0.50
02/13/17 Prepare for IDI and assist client with same KENOS B004 0.60
02/13/17 Exchange emails with H. McCollum, co-counsel KENOS B004 0.20
and client re: IDI
02/14/17 Teleconference and emails with US Trustee and KENOS B004 0.30
client/co-counsel re: IDI
02/14/17 Revise and finalize Initial Operating Report KENOS B004 0.40
02/14/17 Exchange emails with co-counsel and N. Luria re: KENOS B004 0.10
initial operating report
02/14/17 Finalize for filing and coordinate service of initial MSMIT B004 0.50
MOR
Sub Total 6.80
Task
Date Description Attorney Code Time
01/31/17 Prepare amended exhibit re: first rejection motion KENOS B005 0.60
(.2); work with M. Smith and co-counsel re:
preparing, filing, and serving same (.2); and
follow up call with S. Sigler re: same (.2)
02/06/17 Exchange emails with co-counsel, US Trustee, and KENOS BO005 0.20
counsel to HHS re: amended MSO Order
02/06/17 Review and comment on amended MSO Order KENOS BO005 0.20
02/06/17 Prepare, finalize for filing and coordinate service MSMIT BO05 0.60
of notice of rejection motion
02/07/17 Review and comment on certification and revised KENOS BO05 0.40
order re: MSO
02/07/17 Follow up emails with E. Slights re: MSO Order KENOS BOOS 0.10
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Task
Date Description Attorney Code Time
02/07/17 Finalize for filing and coordinate delivery to MSMIT BO05 0.50
chambers of certification of counsel regarding
MSO motion
02/07/17 Draft certificate of counsel re: motion to enter into TBUCH BO005 0.30
physician agreements
Sub Total 2.90
Task
Date Description Attorney Code Time
02/01/17 Exchange emails with co-counsel re: insurance KENOS B006 0.20
motion
02/01/17 Assist co-counsel with preparation of Insurance KENOS B006 0.40
Motion
02/09/17 Teleconference with B. Grodsky re: Case KENOS B006 0.20
Issues/Asset Disposition
02/10/17 Exchange emails with co-counsel re: AFCO KENOS B006 0.20
Inquiry
02/13/17 Review and respond to inquiry regarding asset TBUCH B006 0.20
disposition
Sub Total 1.20
Task
Date Description Attorney Code Time
02/08/17 Exchange emails with co-counsel and client re: KENOS B008 0.20
formation meeting
02/09/17 Prepare for Formation Meeting KENOS B008 0.70
02/09/17 Exchange emails with US Trustee, client and co- KENOS B008 0.20
counsel re: Formation Meeting Preparations
02/10/17 Prepare for (.9) and attend Formation Meeting KENOS B008 2.50
(1.6)
02/10/17 Teleconference with N. Luria and G. Stein re: KENOS B008 0.20
Formation Meeting
Sub Total 3.80
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Task
Date Description Attorney Code Time
02/01/17 Exchange emails with co-counsel and counsel to KENOS BO010 0.20
Medtronic re: Medtronic Reclamation Claims
02/02/17 Exchange emails with counsel to Medtronic re: KENOS BO10 0.20
reclamation claim
Sub Total 0.40
Task
Date Description Attorney Code Time
02/02/17 Review motion to transfer venue and motion to JWAIT BOl11 1.30
shorten from McKesson
02/02/17 Telephone conference with G. Stein re: motion to JWAIT BO11 0.20
transfer venue; 2/3 hearing
02/02/17 Research/analyze McKesson and contract JWAIT BO11 0.40
02/02/17 Review and consider motion to transfer venue and KENOS BOl1 1.10
related motion to shorten (.6) and multiple
discussions with J. Waite (.5) regarding same
02/03/17 Call with KENOS and JWAIT re: venue motion JDORS BOo11 2.30
(.4); review and consider motion to change venue
and cited cases (1.9) ,
02/03/17 Meetings with CRO and counsel re: hearing JWAIT BO11 1.00
follow-up; venue motion .
02/03/17 Call with K. Enos, J. Dorsey re: venue motion and JWAIT BOl1 0.40
strategy for response
02/03/17 Meet with J. Waite, . Dorsey, and T. Buchanan re: KENOS BOl11 0.40
Motion to Transfer Venue
02/03/17 Review motion to transfer venue TBUCH BO11 0.40
02/05/17 Various emails re: venue motion JDORS BO11 0.40
02/05/17 Consider issues/research re: objection to motionto © KENOS BO11 0.90
transfer venue
02/06/17 Consider evidence for hearing on motion to JDORS BOol1 1.80
change venue
02/06/17 Call with client re: motion to change venue JDORS BO11 0.50

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Task
Date Description Attorney Code Time

02/06/17 Meet with J. Dorsey and T. Buchanan re: venue KENOS BOl1 0.70
transfer dispute (.6) (and follow up with T.
Buchanan re: same (.1))

02/06/17 Teleconference with J. Dorsey and N. Luria re: KENOS BO11 0.50
venue transfer motion

02/06/17 Prepare Objection to Motion to Transfer Venue KENOS BOl1 1.40

02/06/17 Download and circulate sample venue transfer MSMIT BO11 0.30
pleadings at the request of K. Enos

02/06/17 Draft argument insert re: objection to motion to TBUCH BOl1 4.00
transfer venue (3.4); prepare for and meet with J.
Dorsey and K. Enos re: same (.6)

02/07/17 Emails to and from K. Enos re: venue objection JWAIT Boll 0.10
and update

02/07/17 Draft Objection to Motion to Transfer Venue KENOS BOl1 4.80

02/07/17 Draft objection to motion to transfer venue TBUCH BOol1 3.90

02/08/17 Review and comment on draft response to motion JDORS BO11 1.80
to transfer venue

02/08/17 Various emails re: venue motion and related JDORS Boll 0.30
evidence

02/08/17 Conference with KENOS re: venue motion and JDORS BOl1 0.30
related evidentiary issues

02/08/17 Meet with T. Buchanan re: venue transfer motion KENOS BO11 0.20

02/08/17 Attention to hearing preparations re: venue KENOS BO11 0.40
transfer motion

02/08/17 Review and revise Objection to Venue Transfer KENOS BOl11 2.10
Motion

02/08/17 Exchange emails with GCG (.2) re: creditor KENOS BO11 0.40
information and review same (.2)

02/08/17 Review and revise objection to motion to transfer TBUCH BO11 3.80
venue

02/09/17 Review and comment on revised draft response to JDORS BO11 1.20
venue motion

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Task
Date Description Attorney Code Time

02/09/17 Emails from and to K. Enos re: venue objection JWAIT BOl11 0.20
and preparation for 2/15 hearing

02/09/17 Further review and revise Objection to Motion to KENOS BOol11 1.70
Transfer Venue

02/09/17 Exchange emails with client re: objection to venue = KENOS BO11 0.20
transfer motion

02/09/17 Review comments to objection to motion to TBUCH BO11 0.20
transfer venue

02/10/17 Numerous emails re: venue motion JDORS Boll 0.50

02/10/17 Review Louisiana Health Department joinder to JWAIT BO11 0.20
venue motion

02/10/17 Emails to and from K. Enos re: venue response JWAIT BO11 0.20
issues

02/10/17 Various emails to and from K. Enos re: committee JWAIT BOl1 0.20
formation; counsel position on venue motion

02/10/17 Telephone conference with K. Enos re: response JWAIT Boil 0.20
to venue motion; committee positions

02/10/17 Revise Objection to Venue Motion re: N. Luria KENOS BOl1 0.50
Comments

02/10/17 Prepare statement re: Venue Motion KENOS BOl11 0.80

02/10/17 Teleconference with N. Luria re: Venue Motion KENOS BOo11 0.30
and hearing preparations ,

02/10/17 Review revised version of Venue Motion KENOS Boll 0.30
Objection (re: filed joinders)

02/10/17 Review and revise objection to motion to transfer TBUCH BOo11 3.50
venue

02/11/17 Review draft response to venue motion and G. JWAIT BO11 0.50
Stein and N. Luria comments on same

02/11/17 Email to team re: comments on response to venue JWAIT BO11 0.20
motion

02/11/17 Teleconference with G. Stein and N. Luria re: case KENOS BO11 0.40
issues and venue transfer

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Task
Date Description Attorney Code Time

02/11/17 Further revise statement re: motion to transfer KENOS BOl1 0.70
venue (comments of co-counsel and client)

02/11/17 Exchange emails with co-counsel re: Statement KENOS BO11 0.20
regarding Venue Motion

02/11/17 Review co-counsel and client comments re: Venue KENOS BO11 0.30
Motion Statement

02/12/17 Various emails with G. Stein, N. Luria and K. JWAIT BOl1 0.40
Enos re: venue response and revisions

02/12/17 Email from and to G. Stein re: venue response JWAIT BOLI 0.10
deadline; 2/15 agenda

02/12/17 Review Committee Comments to Venue Motion KENOS BO11 0.50
Statement (multiple times) (.3) and exchange
emails with co-counsel regarding same (.2)

02/13/17 Email from G. Stein re: committee on venue JWAIT BO11 0.10
motion

02/13/17 Review committee joinder to venue motion JWAIT BOl1 0.30

02/13/17 Review WARN claimants response to venue JWAIT BOI] 0.10
motion

02/13/17 Email from Jason Powell and to Grant Stein re: JWAIT BOol1 0.10
venue order

02/13/17 Review, revise and finalize Statement re: Venue KENOS BOol11 0.40
Motion (includes emails with co-counsel and
client regarding same)

02/13/17 Review and comment on proposed form of order KENOS BOl11 0.20
re: Venue Motion

02/13/17 Finalize for filing and coordinate service of MSMIT BO11 0.60
Debtors' response to McKesson venue transfer
motion

02/13/17 Review Debtors’ statement regarding motion to TBUCH BO11 0.30
transfer venue

02/14/17 Review venue order from Jason Powell JWAIT Boll 0.10

02/14/17 Emails from and to Grant Stein re: venue order JWAIT BO11 0.10

02/14/17 Review Deitz and Logan joinders to venue motion JWAIT BO11 0.20

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Task
Date Description Attorney Code Time
02/14/17 Review additional joinders re: venue transfer KENOS BO11 0.20
motion
02/14/17 Review and comment on WARN Action Venue KENOS BO11 0.40
Transfer Order (.2) and exchange emails with C.
Liozides and G. Stein re: same (.2)
02/14/17 Teleconference with counsel to McKesson (.2) KENOS BO11 0.30
and follow up with M. Smith re: Venue Transfer
Motion (.1)
02/14/17 Exchange emails with co-counsel re: WARN KENOS BO11 0.20
Litigation Issues
02/14/17 Review order transferring venue TBUCH Boll 0.10
02/15/17 Exchange emails with S. Sigler re: venue transfer KENOS Boll 0.10
Sub Total 53.40
Task
Date Description Attorney Code Time
02/06/17 Respond to creditor inquiry re: case status TBUCH B013 0.10
02/10/17 Exchange emails with counsel to Conifer re: case KENOS BO13 0.20
status
02/13/17 Email from and to Sherri West re: creditor inquiry JWAIT BO013 0.10
02/13/17 Teleconference with counsel to Conifer re: chapter KENOS BO13 0.40
11 cases .
02/13/17 Teleconference with N. Luria re: call with counsel KENOS BO13 0.20
to Conifer
02/13/17 Exchange emails with N. Luria and B Grodsky re: KENOS BO013 0.10
physician inquiry
02/14/17 Exchange emails with counsel to Conifer re: status © KENOS BO013 0.10
of chapter 11 cases
02/17/17 Review and respond to creditor inquiry re: claim TBUCH BO013 0.10
status
Sub Total 1.30
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Task
Date Description Attorney Code Time

01/31/17 Assist co-counsel and CRO with retention issues KENOS BO17 0.50

01/31/17 Draft application to retain YCST (2.6); research TBUCH BO17 5.70
parties in interest for connections and disclosures
re: same (3.1)

02/01/17 Review and edit YCST retention application JWAIT BO17 0.80

02/01/17 Review and edit retention affidavit and JWAIT BO17 1.80
disclosures, including review of reports

02/01/17 Review and comment on YCST Retention KENOS BO017 1.40
Application (includes review of conflict report)

02/01/17 Meet with J. Waite re: YCST Retention KENOS BO17 0.20
Application

02/01/17 Review and comment on GCG 327 Retention KENOS BO17 0.60
Application

02/01/17 Research parties in interest for connections and TBUCH BO17 1.90
disclosures re: application to retain YCST

02/02/17 Review further revised YCST retention JWAIT BO17 0.80
application and affidavit

02/02/17 Meetings (2x) with J. Waite re: YCST Retention KENOS BO17 0.20
Application .

02/02/17 Review and revise application to retain YCST TBUCH BO17 0.30

02/03/17 Review and revise proposed order re: retention of TBUCH BOL7 0.90
Solic (.3); review and revise motion re: interim
compensation of professionals (.6)

02/04/17 Consider and revise proposed form of order re: KENOS BO17 0.40
Solic Retention

02/06/17 Review and revise Interim Compensation Motion KENOS BO17 0.40
and Order

02/06/17 Review, revise and finalize YCST Retention KENOS BO17 0.70
Application

02/06/17 Review, revise and finalize Alston Retention KENOS BO17 0.60
Application

02/06/17 Review and comment on OCP Motion KENOS BO17 0.50

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Task
Date Description Attorney Code Time
02/06/17 Additional attention to issues re: Solic Retention KENOS BO17 0.70
Application (further comments/considerations)
02/06/17 Teleconference with N. Luria re: revisions to Solic © KENOS BO17 0.40
Retention Order
02/06/17 Finalize for filing and coordinate service of Alston © MSMIT BO17 0.60
& Bird retention
02/06/17 Finalize for filing and coordinate service of YCST MSMIT BO017 0.60
retention
02/06/17 Finalize for filing and coordinate service of MSMIT B017 0.60
Garden City retention
02/06/17 Finalize for filing and coordinate service of MSMIT BO17 0.60
interim compensation motion
02/06/17 Finalize for filing and coordinate service of MSMIT BO17 0.60
motion to employ ordinary course professionals
02/06/17 Review and comment on motion to retain ordinary TBUCH BO17 0.30
course professionals
02/07/17 Teleconference with N. Luria re: Solic Retention KENOS BO17 0.30
Application
02/07/17 Review, revise and finalize CRO Retention KENOS BO17 0.70
Application
02/07/17 Finalize for filing and coordinate service of MSMIT BO17 0.60
motion to retain SOLIC Capital
Sub Total 23.70
Task
Date Description Attorney Code Time
02/03/17 Draft notice of entry of interim order and final MSMIT B020 0.30
hearing re utilities
02/06/17 Finalize for filing and coordinate service of notice MSMIT B020 0.60
of entry of interim order and final hearing
regarding utilities motion
Sub Total 0.90
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